             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:09-cr-00013-MR-DLH-8


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
                                )
KENNETH LEE FOSTER,             )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s “Motion for

Leave to File for a Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2)

Based on Amendment 750 to U.S.S.G. § 1B1.10” [Doc. 878].

     By the present motion, the Defendant moves for a reduction in

sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 750. [Doc.

878]. The Defendant’s motion must be denied. Because the Defendant’s

guideline range was determined by his status as a career offender,

Amendment 750 provides no change in the guideline calculations in this

case. [See Doc. 338 at 9; Doc. 666 at 1].

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion for

Leave to File for a Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2)


   Case 1:09-cr-00013-MR-WCM    Document 884   Filed 08/18/17   Page 1 of 2
Based on Amendment 750 to U.S.S.G. § 1B1.10” [Doc. 878] is DENIED.

     IT IS SO ORDERED.
                               Signed: August 18, 2017




                                    2



  Case 1:09-cr-00013-MR-WCM   Document 884        Filed 08/18/17   Page 2 of 2
